     Case 2:24-cr-00756-MCS    Document 1   Filed 12/18/24    Page 1 of 17 Page ID #:1



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 8                            UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                June 2024 Grand Jury

11   UNITED STATES OF AMERICA,                 CR No. 2:24-CR-00756-MCS

12                Plaintiff,                   I N D I C T M E N T

13               v.
                                               [18 U.S.C. § 1349: Conspiracy to
14   GABRIEL HAY,                              Commit Wire Fraud; 18 U.S.C.
        aka “Mr. Handz,”                       § 1343: Wire Fraud; 18 U.S.C.
15      aka “Diamondhandz,”                    § 2261A(2)(B): Stalking;
        aka “Centurion,”                       18 U.S.C. § 982: Criminal
16      aka “Vaultkeeper,” and                 Forfeiture]
     GAVIN MAYO,
17      aka “Gavinm,”

18
                  Defendants.
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21        The Grand Jury charges:
22                    INTRODUCTORY ALLEGATIONS AND DEFINITIONS
23        At all times relevant to this Indictment:
24        A.    DEFENDANTS AND RELEVANT INDIVIDUALS
25        1.    Defendant GABRIEL HAY (“HAY”), also known as (“aka”) “Mr.
26   Handz,” aka “Diamondhandz,” aka “Centurion,” aka “Vaultkeeper,”
27   resided in Los Angeles County, California.
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     Case 2:24-cr-00756-MCS     Document 1   Filed 12/18/24     Page 2 of 17 Page ID #:2



 1        2.    Defendant GAVIN MAYO (“MAYO”), aka “Gavinm,” resided in

 2   Pennsylvania, Florida, and Los Angeles County, California.

 3        3.    Co-Conspirator 1 (“CC-1”) resided in Virginia and Los

 4   Angeles County, California.

 5        4.    Project Manager 1 resided in Orange County, California.

 6        B.    DEFINITIONS

 7        5.    Cryptocurrency, a type of virtual currency, is a

 8   decentralized, peer-to-peer, network-based medium of value or

 9   exchange that may be used as a substitute for fiat currency to buy

10   goods or services or exchanged for fiat currency or other

11   cryptocurrencies.        Examples of cryptocurrency are Bitcoin, Ether,

12   Solana, Tether (“USDT”), Chainlink (“LINK”), and Litecoin.

13   Cryptocurrency can exist digitally on the Internet, in an electronic

14   storage device, or in cloud-based servers.

15        6.    Cryptocurrencies       operate     on   a     “blockchain,”    which   is   a
16   distributed public ledger, run by the decentralized network, containing
17   an immutable and historical record of every transaction.                  Examples of
18   blockchains are the Bitcoin blockchain, Ethereum blockchain, and Solana
19   blockchain.
20        7.    Cryptocurrency is stored in a virtual account called a
21   wallet.   Wallets are software programs that interface with
22   blockchains and generate and/or store public and private keys used to
23   send and receive cryptocurrency.         A public key or address is akin to
24   a bank account number, and a private key is akin to a PIN number or
25   password that allows a user the ability to access and transfer value
26   associated with the public address or key.               To conduct transactions
27   on a blockchain, an individual must use the public address (or
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     Case 2:24-cr-00756-MCS   Document 1   Filed 12/18/24   Page 3 of 17 Page ID #:3



 1   “public key”) and the private address (or “private key”).

 2        8.     A non-fungible token (“NFT”) is a cryptographic token that

 3   exists on a blockchain and represents ownership of a specific item or

 4   asset.    Similar to a digital certificate of authenticity, NFTs are

 5   used to verify the ownership or history of a specific item or asset.

 6   NFTs are secured by the blockchain, which allows for transfer of

 7   ownership and can be used to verify the provenance of an NFT.               NFTs

 8   can be created for a variety of assets, including art, collectibles,

 9   and even real estate.     NFTs are created through a process called

10   minting, which is commonly done by the artists, creator, or license-

11   holder, and involves publishing an NFT on a blockchain so that it can
12   be bought, sold, and traded.
13        9.     A rug pull is a type of fraud scheme in which the creator
14   of an NFT or digital asset project fraudulently solicits funds from
15   purchasers in connection with the project and then abruptly abandons
16   the project and retains the funds.
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     Case 2:24-cr-00756-MCS   Document 1     Filed 12/18/24   Page 4 of 17 Page ID #:4



 1                                         COUNT ONE

 2                                 [18 U.S.C. § 1349]

 3                                  [ALL DEFENDANTS]

 4        The Grand Jury hereby realleges and incorporates by reference

 5   paragraphs 1 through 9 of the Introductory Allegations and

 6   Definitions of this Indictment as though fully set forth herein.

 7        A.    OBJECT OF THE CONSPIRACY

 8        10.   Beginning on a date unknown to the Grand Jury, but no later

 9   than in or around May 2021, and continuing through at least in or

10   around May 2024, in Los Angeles County, within the Central District

11   of California, and elsewhere, defendants HAY and MAYO, CC-1, and

12   others known and unknown to the Grand Jury knowingly conspired and

13   agreed with each other to commit wire fraud, in violation of Title

14   18, United States Code, Section 1343.

15        B.    MANNER AND MEANS OF THE CONSPIRACY

16        11.   The object of the conspiracy was to be carried out, and was

17   carried out, in substance, as follows:

18              a.    Defendants HAY and MAYO, CC-1, and others would

19   sponsor a number of NFT and other digital asset projects and

20   undertake promotional activities in support of those projects.

21              b.    During the launch and promotion of these projects,

22   defendants HAY and MAYO, and CC-1, would make materially false and

23   misleading statements, or cause others to make materially false and

24   misleading statements, to potential purchasers concerning the NFTs or

25   other digital assets being launched and the projects’ potential to

26   create value for purchasers of those assets.

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     Case 2:24-cr-00756-MCS   Document 1   Filed 12/18/24   Page 5 of 17 Page ID #:5



 1               c.    Defendants HAY and MAYO, and CC-1, would publicize to

 2   potential purchasers false and misleading project “roadmaps”

 3   detailing plans for the NFTs and other digital asset projects after

 4   their launch.

 5               d.    Defendants HAY and MAYO, and CC-1, would hire other

 6   individuals to do a variety of tasks for the projects, including the

 7   creation of digital assets to sell to victims, the registration of

 8   email domains and social media accounts, and the moderation of chat

 9   groups affiliated with the projects to prevent the dissemination of

10   information exposing the projects as rug pulls and the identity of

11   the defendants.

12               e.    Once purchasers paid for the NFTs and other digital

13   assets, defendants HAY and MAYO, and CC-1, would abandon the projects

14   and split the funds raised between themselves and other co-

15   conspirators.

16               f.    Defendants HAY and MAYO, and CC-1, would use a variety

17   of means to conceal their involvement in the fraudulent NFTs and

18   other digital asset projects including inventing aliases, falsely

19   identifying other individuals or causing other individuals to be

20   falsely identified as owners of the projects, falsely denying their

21   involvement or causing others to deny their involvement to potential

22   purchasers in chat groups associated with the projects, and harassing

23   individuals who publicly identified them as being involved in the

24   projects.

25               g.    Combinations of defendants HAY and MAYO, and CC-1,

26   would use the above-described tactics for several NFTs and other

27   digital assets, including projects known as Vault of Gems, Faceless,

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     Case 2:24-cr-00756-MCS   Document 1   Filed 12/18/24   Page 6 of 17 Page ID #:6



 1   Sinful Souls, Clout Coin, Dirty Dogs, Uncovered, MoonPortal,

 2   Squiggles, and Roost Coin.

 3              h.    As a result, combinations of defendants HAY and MAYO,

 4   and CC-1, raised over $22.4 million from purchasers.

 5              i.    Defendants HAY and MAYO, and CC-1, would use

 6   interstate and foreign wire communications in furtherance of the

 7   above-described scheme.

 8        C.    OVERT ACTS

 9        12.   On or about the following dates, in furtherance of the

10   conspiracy and to accomplish its object, defendants HAY and MAYO, CC-

11   1, and co-conspirators known and unknown, committed and knowingly

12   caused others to commit various overt acts, within the Central

13   District of California and elsewhere, including, but not limited to,

14   the following:

15        Vault of Gems NFT Rug Pull

16        Overt Act No. 1:        On August 31, 2021, defendant HAY registered
17   the Vault of Gems Twitter account.
18        Overt Act No. 2:        On September 4, 2021, defendant HAY
19   registered the Vault of Gems website.         The website falsely claimed
20   that Vault of Gems was to be the “first NFT project to be pegged to a
21   hard asset.”    The website further falsely claimed that the project’s
22   “goal is to deploy a private Vault of Gems marketplace where VOG
23   virtual assets can be exchanged in real time for hard assets.               This
24   will be achieved by working firsthand in partnerships with jewelers
25   around the globe.”
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     Case 2:24-cr-00756-MCS   Document 1   Filed 12/18/24   Page 7 of 17 Page ID #:7



 1        Overt Act No. 3:     In and around August and September 2021,

 2   defendant HAY promoted the Vault of Gems NFTs by creating, or causing

 3   the creation of, Vault of Gems NFTs resembling the images below:

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11        Overt Act No. 4:        On September 17, 2021, defendant MAYO posted
12   a video on TikTok falsely claiming that Vault of Gems NFTs were the
13   “first NFT[s] pegged to a hard asset, like jewelry” and that the
14   project had “already started making [its] own exchange” for jewelers
15   to use.
16        Overt Act No. 5:        On September 20, 2021, defendant MAYO used
17   his cryptocurrency account to supply the initial funds to the Vault
18   of Gems contract creator address.
19        Overt Act No. 6:        On September 21, 2021, defendant HAY made
20   the Vault of Gems NFTs available for minting on the Ethereum
21   blockchain, thereafter raising more than $1,080,000 worth of Ether
22   from purchasers who sent funds to the Vault of Gems mint address.
23        Overt Act No. 7:        On an unknown date no later than September
24   22, 2021, defendant HAY caused the Vault of Gems smart contract to
25   distribute funds from the mint address to defendant HAY and others.
26        Overt Act No. 8:        On September 22, 2021, and continuing until
27   October 26, 2021, defendant HAY received approximately 269 Ether to
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     Case 2:24-cr-00756-MCS   Document 1   Filed 12/18/24   Page 8 of 17 Page ID #:8



 1   his cryptocurrency wallet from the Vault of Gems mint address.

 2        Overt Act No. 9:        On October 1, 2021, defendant HAY directed

 3   the registration of the Vault of Gems TikTok account.
 4        Overt Act No. 10:       On an unknown date no later than November
 5   20, 2021, defendants HAY and MAYO abandoned the Vault of Gems
 6   project.
 7        Faceless NFT Rug Pull
 8        Overt Act No. 11:       On an unknown date no later than October 20,
 9   2021, defendant MAYO hired an artist to generate artwork for the
10   Faceless NFT project resembling the images below:
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19        Overt Act No. 12:       On an unknown date no later than October 19,

20   2021, defendant MAYO hired Project Manager 1 to assist with the

21   Faceless project.

22        Overt Act No. 13:       On October 20, 2021, Project Manager 1 asked

23   defendant MAYO about biographies of Faceless project team members to

24   feature on the project’s Discord, to which defendant MAYO responded,

25   “[m]ake em up” and then supplied Project Manager 1 with an example of

26   a made-up biography of an artist working on the project.

27        Overt Act No. 14:       On October 22, 2021, defendant HAY

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     Case 2:24-cr-00756-MCS   Document 1   Filed 12/18/24   Page 9 of 17 Page ID #:9



 1   registered the Faceless website.       The Faceless website included a

 2   project “roadmap” advertising the steps the project would take to

 3   achieve value for NFT purchasers.        The website falsely claimed that:

 4   phase one of the Faceless NFT project was to include the release of

 5   the first edition of a “Faceless Chronicles” comic book; and phase

 6   two was to include: (1) the release of the second edition of the

 7   comic book, (2) the release of a Faceless movie, (3) the launch of a

 8   Faceless clothing company, and (4) “33% of secondary revenue [going]

 9   to [a] charity of [the] community’s choice.”

10        Overt Act No. 15:       On November 19, 2021, defendants HAY and

11   MAYO made the Faceless NFTs available for minting on the Solana
12   blockchain, raising more than $420,000 worth of Solana from
13   purchasers who sent funds to the Faceless mint address.
14        Overt Act No. 16:       On November 27, 2021, defendant MAYO
15   received approximately 773 Solana (approximately $153,000) from the
16   Faceless mint address to an account set up for defendant MAYO’s use.
17        Overt Act No. 17:       On November 29, 2021, defendant HAY received
18   approximately 1,006 Solana (approximately $203,000) from the Faceless
19   mint address to an account at a virtual currency exchange.
20        Overt Act No. 18:       On November 29, 2021, defendant HAY
21   converted the approximately 1,006 Solana into approximately 201,222
22   USDT and then converted the USDT to approximately 8,028 LINK
23   (approximately $200,860).
24        Overt Act No. 19:       In November 2021, when individuals
25   participating in a public Discord chat group began to speculate as to
26   the owners of the Faceless NFT project, defendants MAYO and HAY
27   arranged for another individual to be identified as the owner to the
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     Case 2:24-cr-00756-MCS   Document 1   Filed 12/18/24   Page 10 of 17 Page ID #:10



 1    chat group.

 2         Overt Act No. 20:       On an unknown date no later than November

 3    20, 2021, defendants HAY and MAYO abandoned the Faceless project.
 4         Additional Digital Assets
 5         Overt Act No. 21:       On May 21, 2021, defendant HAY drafted the
 6    following promotional language for the MoonPortal project: “Welcome
 7    to MoonPortal! ‘Why fly to the moon, when you can teleport?’ We are
 8    the most rapidly growing ‘Moon Coin’ on the market . . . .”
 9         Overt Act No. 22:       On June 24, 2021, defendant HAY drafted the
10    following promotional language for the Clout Coin project: “From the
11    people who did $YUMMY, $ELON, and $MILF… The next $100M Mcap gem
12    hasn’t even launched yet[.]      The next big coin is launching TOMORROW
13    and is doing a public presale so everyone can eat.             It is called
14    Clout Coin! $CLOUT is creating the most user friendly NFT market
15    place which aims to bridge the gap between your favorite influencers
16    and the average joe.”
17         Overt Act No. 23:       In September and October 2021, defendant HAY
18    hired an artist to create artwork for the Uncovered NFT project.
19         Overt Act No. 24:       In October 2021, defendant MAYO hired
20    Project Manager 1 to help set up the Discord server for the Sinful
21    Souls project.
22         Overt Act No. 25:       On October 12, 2021, defendant HAY wrote to
23    CC-1 stating, “[l]et’s start on dirty dogs asap,” referring to the
24    Dirty Dogs NFT project.
25         Overt Act No. 26:      On February 10, 2022, a virtual currency
26    exchange account controlled by defendant HAY funded the first
27    transaction of the Squiggles contract creator address.
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     Case 2:24-cr-00756-MCS   Document 1   Filed 12/18/24   Page 11 of 17 Page ID #:11



 1         Overt Act No. 27:      In March 2024, defendant HAY recruited a team

 2    of people including CC-1 to assist in the launch of ROOST coin.

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     Case 2:24-cr-00756-MCS   Document 1   Filed 12/18/24   Page 12 of 17 Page ID #:12



 1                               COUNTS TWO THROUGH FIVE

 2                              [18 U.S.C. §§ 1343, 2(a)]

 3                                     [ALL DEFENDANTS]

 4            The Grand Jury hereby realleges and incorporates by reference

 5    paragraphs 1 through 9 of the Introductory Allegations and

 6    Definitions of this Indictment as though fully set forth herein.

 7            A.    SCHEME TO DEFRAUD

 8            13.   Beginning on a date unknown to the Grand Jury, but no later

 9    than in or around May 2021, and continuing through at least in or

10    around May 2024, in Los Angeles County, within the Central District

11    of California, and elsewhere, defendants HAY and MAYO, CC-1, and

12    others known and unknown to the Grand Jury knowingly and with the

13    intent to defraud, devised, intended to devise, participated in, and

14    executed a scheme to defraud victim-purchasers as to material

15    matters, and to obtain money and property by means of material false

16    and fraudulent pretenses, representations, and promises, and the

17    concealment of material facts.

18            14.   The scheme operated, in substance, as set forth in

19    paragraphs 11 and 12 of Count One of this Indictment, which is

20    realleged and incorporated herein by reference as if set forth in

21    full.

22            B.    USE OF THE WIRES

23            15.   On or about the following dates, in Los Angeles County,

24    within the Central District of California, and elsewhere, for the

25    purpose of executing the above-described scheme to defraud,

26    defendants HAY and MAYO, each aiding and abetting each other,

27    knowingly transmitted and caused the transmission of, the following

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     Case 2:24-cr-00756-MCS   Document 1   Filed 12/18/24   Page 13 of 17 Page ID #:13



 1    items by means of wire and radio communication, writings, signals,

 2    pictures, and sounds in interstate and foreign commerce:

 3     COUNT   DATE       INTERSTATE     AND     FOREIGN    WIRE DEFENDANT
                          TRANSMISSION                           CHARGED
 4     TWO     09/22/2021 Electronic    transfer     caused   by HAY
                          defendant HAY (in California) of
 5
                          approximately 5.08 Ether from the
 6                        Vault of Gems mint address to wallet
                          address 0xede0…9eca at a virtual
 7                        currency    exchange     (outside   of
                          California) through an intermediary
 8                        address.
 9
       THREE   10/31/2021 Electronic     communication     from MAYO
10                        defendant MAYO (in California) to
                          Project Manager 1 (in California)
11                        using Discord servers (outside of
                          California) telling Project Manager 1
12                        to “just make shit up” in connection
                          with the Faceless project.
13

14     FOUR    11/10/2021 Electronic      communication     from MAYO
                          defendant MAYO (in California) to a
15                        family   member    (in   Pennsylvania)
                          telling the family member, “I need an
16                        untraced phone to put crypto on.”
17
       FIVE    11/29/2021 Electronic    transfer    caused    by HAY
18                        defendant HAY (in California) of
                          approximately 1,005 Solana from the
19                        Faceless project mint address to
                          wallet address 0x4636…8b04 controlled
20                        by defendant HAY at a virtual currency
                          exchange (outside of California).
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     Case 2:24-cr-00756-MCS    Document 1    Filed 12/18/24   Page 14 of 17 Page ID #:14



 1                                          COUNT SIX

 2                            [18 U.S.C. §§ 2261A(2)(B), 2(a)]

 3                                    [ALL DEFENDANTS]

 4         The Grand Jury hereby realleges and incorporates by reference

 5    paragraphs 1 through 9 of the Introductory Allegations and

 6    Definitions of this Indictment as though fully set forth herein.

 7         16.   Beginning on or about November 22, 2021, and continuing to

 8    at least on or about September 10, 2023, in Los Angeles County,

 9    within the Central District of California, and elsewhere, defendants

10    HAY and MAYO, with the intent to harass and intimidate Project

11    Manager 1, aiding and abetting each other, used an interactive

12    computer service, an electronic communication service, an electronic

13    communication system of interstate commerce, and other facilities of

14    interstate and foreign commerce, namely cellular telephone networks,

15    email, interstate wires, and the Internet, to engage in a course of

16    conduct, including conduct described in Paragraph 17 below, that

17    caused, attempted to cause, and would reasonably be expected to cause

18    substantial emotional distress to Project Manager 1 and his parents.

19         17.   Defendants HAY and MAYO’s course of conduct included, among

20    other things, the following:

21               a.    On November 22, 2021, after Project Manager 1 revealed

22    defendants HAY and MAYO as the owners of the Faceless NFT project,

23    defendant HAY, with the assistance of defendant MAYO, sent, or caused

24    the sending of, an email to Project Manager 1’s parents falsely

25    purporting to be from a law firm and threatening legal action.                 The

26    message said in part, “[Project Manager 1] made some poor choices

27    involving leaking sensitive information online” and included the home

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     Case 2:24-cr-00756-MCS   Document 1   Filed 12/18/24   Page 15 of 17 Page ID #:15



 1    address and ages of Project Manager 1’s parents.

 2               b.     On November 22, 2021, defendants HAY and MAYO sent, or

 3    caused the sending of, a threatening text message to Project

 4    Manager 1 falsely purporting to be from an investor in the Faceless

 5    NFT Project.     The message said, in part, that Project Manager 1 had

 6    “cause[d] serious damage to [himself] and [his] future” and

 7    instructed that he “message [the number] back when [he had] deleted

 8    and cleared the name of ALL those involved.”           The message said that

 9    Project Manager 1 had “1 hour” to remove the information.              The

10    message included the names and contact information for Project

11    Manager 1’s parents.

12               c.     On November 28, 2021, defendants HAY and MAYO sent, or

13    caused the sending of, an email purporting to be from a law firm to

14    Project Manager 1’s parents stating, in part: “[Project Manager 1]

15    has tried multiple times to leak the personal information of a few

16    individuals that are now going to make [his] family suffer unless he

17    and his friend . . . stop their shenanigans in the next hour.

18    Otherwise, strap in it’s going to get real hectic.”             The email

19    proceeded to make a number of threats including threats to falsely

20    accuse Project Manager 1’s parents of lewd sexual behavior.              The

21    email ended with the following message: “This is only the beginning

22    if he doesn’t [stop].”

23               d.     On September 10, 2023, defendant MAYO sent, or caused

24    the sending of, a direct message on Instagram to Project Manager 1

25    stating, in part: “Don’t think we forgot about you . . . Get ready to

26    get destroyed . . . This account will be gone. Next is TikTok. Next

27    is discord.     After that you’ll see what else.”

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     Case 2:24-cr-00756-MCS   Document 1   Filed 12/18/24   Page 16 of 17 Page ID #:16



 1                                FORFEITURE ALLEGATION

 2                                  [18 U.S.C. § 982]

 3         18.   Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

 4    Procedure, notice is hereby given that the United States of America

 5    will seek forfeiture as part of any sentence, pursuant to Title 18,

 6    United States Code, Section 982(a)(2), in the event of any

 7    defendant’s conviction of the offenses set forth in any of Counts One

 8    through Five of this Indictment.

 9         19.   Any defendant so convicted shall forfeit to the United

10    States of America the following:

11               (a) All right, title and interest in any and all property,

12    real or personal, constituting, or derived from, any proceeds

13    obtained, directly or indirectly, as a result of the offense; and

14               (b) To the extent such property is not available for

15    forfeiture, a sum of money equal to the total value of the property

16    described in subparagraph (a).

17         20. Pursuant to Title 21, United States Code, Section 853(p), as

18    incorporated by Title 18, United States Code, Section 982(b), any

19    defendant so convicted shall forfeit substitute property, up to the

20    total value of the property described in the preceding paragraph if,

21    as the result of any act or omission of said defendant, the property

22    described in the preceding paragraph, or any portion thereof: (a)

23    cannot be located upon the exercise of due diligence; (b) has been

24    transferred, sold to or deposited with a third party; (c) has been

25    placed beyond the jurisdiction of the court; (d) has been

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     Case 2:24-cr-00756-MCS   Document 1   Filed 12/18/24   Page 17 of 17 Page ID #:17



 1    substantially diminished in value; or (e) has been commingled with

 2    other property that cannot be divided without difficulty.

 3                                             A TRUE BILL
 4                                             /S/
 5
                                               Foreperson
 6
      E. MARTIN ESTRADA
 7    United States Attorney
 8

 9

10    DAVID T. RYAN
      Assistant United States Attorney
11    Chief, National Security Division
12    KHALDOUN SHOBAKI
      Assistant United States Attorney
13    Chief, Cyber & Intellectual Property Crimes Section
14    MAXWELL COLL
      Assistant United States Attorney
15    Cyber & Intellectual Property Crimes Section
16    GLENN S. LEON
      Chief, Fraud Section
17    U.S. Department of Justice
18    JOHN LYNCH
      Chief, Computer Crime & Intellectual Property Section
19    U.S. Department of Justice
20    TIAN HUANG
      Trial Attorney, Fraud Section, Market Integrity & Major Frauds
21    National Cryptocurrency Enforcement Team
22    TAMARA LIVSHIZ
      Trial Attorney, Fraud Section, Market Integrity & Major Frauds Unit
23    National Cryptocurrency Enforcement Team
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